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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

     UNITED STATES OF AMERICA

     -vs-                                                              Case No. 6:08-cr-118-Orl-22DAB

     AKHIL BARANWAL
     ___________________________________

                                     REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT

               This cause came on for consideration without oral argument on the following motion filed

     herein:

                  MOTION:        MOTION FOR MISCELLANEOUS RELIEF - TO ALTER
                                 JUDGMENT (Doc. No. 1130)

                  FILED:      November 8, 2013
                  _____________________________________________________________

                  THEREON it is RECOMMENDED that the motion be GRANTED in part
                  and DENIED in part.

               Defendant, a non-citizen appearing pro se for present purposes, seeks to alter the language of

     the criminal judgment issued in this case, to better persuade Immigration officials to grant him

     discretionary relief from deportation. The United States objects (Doc. 1132). For the reasons that

     follow, it is respectfully recommended that the motion be granted, in part and denied, in part.

               Background

               The grand jury returned a Superseding Indictment and a Second Superseding Indictment

     charging this Defendant with Drug Conspiracy (Count I), and three counts of aiding and abetting the

     distribution of controlled substances, in violation of 21 U.S.C. §§ 841(a)(1) and 2 (Counts 14-16)

     (Docs. 157, 279). Following trial, a jury found Defendant not guilty as to Count 1, and “guilty of the

     crime Distribution of a Controlled Substance as charged in Counts 14, 15 and 16 of the second
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     Superseding Indictment.” (Doc. 555, 562). On August 5, 2009, the district judge entered a Corrected

     Judgment (Doc. 815), which stated that this Defendant “was found guilty on Counts 14-16 of the

     Second Superseding Indictment” and adjudicated Defendant guilty of three counts of distribution of

     controlled substances, in violation of 21 U.S.C. §§ 841(a)(1) and (2). Defendant’s appeal was

     unsuccessful, and he is presently incarcerated, per his sentence.

            According to his motion, Defendant is a non-citizen, married with two children and a widowed

     mother in law; all of whom are economically dependent upon Defendant. Due to his conviction in

     this matter, Defendant represents that he is now facing deportation proceedings.

            Discussion

            As recently noted by the United States Supreme Court:

            Under the Immigration and Nationality Act (INA), a noncitizen convicted of an
            “aggravated felony” is not only deportable, 8 U.S.C. § 1227(a)(2)(A)(iii), but also
            ineligible for discretionary relief. The INA lists as an “aggravated felony” “illicit
            trafficking in a controlled substance,” § 1101(a)(43)(B), which, as relevant here,
            includes the conviction of an offense that the Controlled Substances Act (CSA) makes
            punishable as a felony, i.e., by more than one year's imprisonment, see 18 U.S.C. §§
            924(c)(2), 3559(a)(5).

     Moncrieffe v. Holder, – U.S.–, 133 S.Ct. 1678, 1680, – L.Ed. 2d – (2013). In his motion, Defendant

     seeks to alter the terms of the judgment entered against him to modify the nature of his offense by

     adding the following language:

            “Distribution of Schedule III/IV prescription controlled substance by a physician other
            than for a legitimate medical purpose or outside the usual course of professional
            practice (CFR 1306.04 (a) ). This is not the generic crime of “illicit drug trafficking”
            as defined by Supreme Court in Moncrieffe.

            Acquitted in Count 1 (Conspiracy Count: Criminal Intent to Commit Crime)”

     (Doc. 1130, p. 5).

            Defendant contends that, as a medical doctor, he was not convicted of “the generic crime of

     drug trafficking” under the Controlled Substances Act, and that his judgment should reflect that, “for



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     compassionate purposes to help the defendant accurately categorize his crime in front of immigration

     officials.” Id. For its part, the United States notes that Rule 36, Federal Rules of Criminal Procedure,

     allows a district court to correct “a clerical error” in a judgment, or “correct an error in the record

     arising from oversight or omission,” but no such error exists here, as Title 21, United States Code,

     Section 841(a)(1) prohibits any person from knowingly or intentionally “distribut[ing] a controlled

     substance.” 21 U.S.C. § 841(a)(1).

            While the Court agrees with the government that Defendant is not necessarily “entitled” to the

     relief he seeks, this is of no moment. Defendant does not demand relief as a matter of right, but asks

     for relief as a matter of grace. The issue, then, is not whether the Court must alter the judgment, but

     whether it has jurisdiction to do so under Rule 36 and, if so, whether it should. In order to answer this

     question, the Court must determine whether the relief sought is within the meaning of Rule 36 and,

     if so, whether the relief sought is consistent with the record. Upon such a showing, and absent any

     prejudice, the Court may grant the relief.

            The Corrected Judgement does not contain a clerical error, such as a transcription mistake.

     Rule 36, however, includes “minor and mechanical” errors, and errors resulting from oversight or

     omission, as long as the substance of the judgment is not affected. See United States v. Portillo, 363

     F. 3d 1161 (11th Cir. 2004) (district court’s correction of judgment to require that defendant pay

     restitution to six aliens as orally stated as sentencing, rather than to the GIB as stated in the written

     judgment, and deletion of the phrase from written judgment that defendant pay restitution “jointly and

     severally” were proper under rule). It is clear here that Defendant is not seeking to change his

     sentence or to alter the fact of his conviction. Rather, Defendant urges the amendment of the

     Judgment to better reflect the precise nature of the crime he was charged with and convicted of.

            As reflected in the Second Superseding Indictment, Defendant (along with other defendants)

     was charged with “aiding and abetting each other, knowingly and intentionally distributed and


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     dispensed, and caused to be distributed and dispensed, quantities of Schedule III and Schedule IV

     Controlled Substances, . . . , other than for a legitimate medical purpose and not in the usual course

     of professional practice . . .” (Doc. 279, ¶ 78). The jury instructions track the language from C.F.R.

     1306.04(a) : “Distribution of Schedule III/IV prescription controlled substance by a physician other

     than for a legitimate medical purpose or outside the usual course of professional practice.” (See Doc.

     590, Jury Instruction 22 - noting “Title 21, United States Code, Section 841(a)(1), makes it a Federal

     crime or offense for anyone to distribute or dispense a controlled substance other than for a legitimate

     medical purpose and not in the usual course of professional practice.”). Thus, this Court has no

     objection to the extent Defendant seeks the Judgment to reflect, under the section “Nature of

     Offense,” the following:

             Distribution of controlled substance – Distribution of Schedule III/IV prescription
             controlled substance by a physician other than for a legitimate medical purpose or
             outside the usual course of professional practice.

     Such an amendment is consistent with the language of the indictment, the jury instructions, and the

     verdict form (which references the indictment), and does not alter the Title and Section of the offenses

     Defendant was charged with and convicted under, nor does it change the sentence imposed. To the

     extent the language merely accurately reflects the nature of the charge and conviction, it falls within

     the “omission” scope of the Rule, and, as there is no prejudice shown, grace is the better part of valor

     here.

             Similarly, the verdict form reflects that Defendant was, indeed, found not guilty of the drug

     conspiracy count (Count1), but the acquittal is not included in the judgment. This, too, does not

     change the conviction or sentence with respect to the other counts and amending the judgment to

     indicate the acquittal as to this Count is accurate, corrects this omission, and seems harmless enough.

     The Court recommends inclusion of the following sentence: “Defendant was found Not Guilty of

     Count One – Drug Conspiracy in violation of Title 21, United States Code, Section 846."


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            Finally, Defendant believes that the holding of the Supreme Court in Moncrieffe can assist him

     in his immigration proceeding, as Defendant contends that the decision supports his position that he

     was not adjudicated guilty of a generic trafficking offense. He therefore requests that this Court

     include a finding that: “This is not the generic crime of “illicit drug trafficking” as defined by

     Supreme Court in Moncrieffe.” The Court should decline to do so. The applicability, if any, of

     Moncrieffe is well outside the scope of any legitimate Rule 36 concern and is a matter for the

     immigration authorities to decide.

            A final note is in order. In recommending that the motion be granted, in part, the Court does

     not imply that it agrees with Defendant’s position with respect to his deportation proceedings. As

     such issues are not properly before this Court, nothing in this opinion should be construed as an

     endorsement in favor of, or against, any pending or contemplated immigration action. By

     recommending that the Judgment be amended to include additional, limited findings, the Court finds

     only that the amendments accurately reflect the record, do not substantively alter the conviction or

     sentence, and result in no prejudice to the Government.

            It is therefore respectfully recommended that the motion be granted, in part and denied,

     in part, consistent with the foregoing.

            Failure to file written objections to the proposed findings and recommendations contained in

     this report within fourteen (14) days from the date of its filing shall bar an aggrieved party from

     attacking the factual findings on appeal.

            Respectfully recommended in Orlando, Florida on this 4th day of December, 2013.


                                                                  David A. Baker
                                                                 DAVID A. BAKER
                                                           UNITED STATES MAGISTRATE JUDGE
     Copies furnished to:

     Presiding District Judge
     Counsel of Record
     Unrepresented Parties

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